Case 201 cv-O@ee-cTP Document 1

 

FORM TO BE USED BY A PRISONER IN FILING A COMPLAINT
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. §1983

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
2a CIVIL ACTION -
(Enter above the full name of the -
Plaintiff in this action.) = 3 48 9 ..
7

Or Jeans Cale S brian, Char Jes Fot,', Ru dy

Belisle, Dw, 4*+-™ Kenna Tr
rN a4 Sohn Dee T
Deer, Stade af loners: Dephotty cen

recA-YONS ;

Rchad Stalder CM, Leoiag, Bab Abels,
Invvhael i egmang 34 £ bins :
(Enter abov e fullna of the ust: ne

defendant or defendants in this
action.)

 

COMPLAINT

i. Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same
facts invotved in this action or otherwis¢ relating to your imprisonment?
Yes( ) No (y

 
Case 2:01-cv-03489-GTP Document1 Filed 11/28/01 Page 2 of 13

8. if your answer to A is yes, describe the lawsuit in the space below. (if there is

more than one lawsuit, describe the additional | i
paper, using the same outline.) awsuits on another piece of

1.

6.
7.

Parties to the previous tawsuit
Plaintiffs

 

 

Defendants

 

 

Court (if federal court, name of the district court: if state court. nam
the parish.) ei rt name

 

Docket Number

 

Name of Judge to whom case was assigned =

 

Disposition (For example: Was this case dismissed? Was it appealed?
Is it still pending?)

 

Approximate date of filing lawsuit
Approximate date of disposition

 

 

c. Have you had any previously filed federal lawsuits or appeals, whether or not
related to the issues raised in this compiaint, which have been dismissed as
frivolous, malicious, or for failure to state a claim for which relief can be
granted by a y federal court?

es 0

if your answer Is yes, list the civil action numbers and the disposition of each
case. You also must identify in which federal district or appellate court the
action was brought.

 

 

 

 

'. Place of Present confinement: Aunt Gyrractienal Contec

A. Is there a prisoner grievance procedure in this institution?

Yes (\)

NO( )
Case 2:01-cv-03489-GTP Document1 Filed 11/28/01 Page 3 of 13

8. Did you present the facts relating to this complaint in the ori
procedure? Yesi} No( ) e prisoner grievance

C. if your answer Is YES,

Orleans Parikh Prisan-N2 response to grevenses
Attach a copy of all administrative complaints you have fled fegarding
the claims raised in this lawsuit and copies of ail prison responses. if
copies are not available, list the number assigned to the compiaintts)
1445 _and approximate date ity was presented to the prison. AA Ce - 290 /-
a e, ool! ald Of if ~-
2. As to each “Grlevance’ compilant provided Gr fisted : Save Rabe you

exhausted or completed ail steps in the procedure, including appeais?

 

 

D. if your answer Is NO, explain why you have not done so:

 

 

it. Parties

(In item A below, piace your name in the first biank, your present address in the
asinitivte wea and your date of birth in the third blank. Do the same for additional
ain , ifany

 

 

A. Nameofplaintiff_Oscar Lau) Bertheht
Address 43993 Fle,Huet Grr Center, 2. Box 1/74
Date of Birth G23 034 LA 70776
Prisoner Number _// 7 7.2.3

 

Date of Arrest_ 7 - 7- 2200
Date of Conviction 2-4-2200
(In item B below, place the full name of the defendant in the first biank, his official

position in the second blank, and his place of employment in the third Diank. Use
item C for the names, positions, and places of employment of any additional

 

 

 

defendants.)
B. Defendant € 2 is employed as
4
Sak
C. ‘Additional Defendants 2D

 

ALES

2g

 
Case 2:01-cv-03489-GTP Document1 Filed 11/28/01 Page 4 of 13

Defendant: Orleans fares} Criminal Shemts
OFF ce. |

Charles Fot? , Criminal Sherr) F, L
Rady Belvsje, chief deputy .
Owe g AT Me Kenna , pay $/2:qn

Tohn Dee Ly Correctidnal otFf-cer

Tohn Doe I Correctidna] other

All the above are empl yed by She otfice
of fhe Orleans bars's 4 Cort m: na | Shervits offre
at 3000 Fardido S+, Hew Orleans LA For.

Deter dart ¢ State of Leauissanac- Deg7

ot Orrechons

Bichard Stal deg, Secretary st Deg? ot LY.
CoM Lens;'ng ; warden, Rant Grr, Center

bib Abels, asst warden, Hunt Grr Center
Intcheel eg mann, pry $/t/an, Hant Grr Le, ter
S te Aagustine (Pres? Name unkod dn) back

ma te Whd On 7-23-01 was werk.ng 4'
the Co Baldi ng at = flant Lorr, Center
The State of Lea's; ana -Deg 7, of Gy, tnd
Richard Staldir) address 1s bF9 than SH

Baty hoyge L4, °
Leasing , Abols Heg man and Aas ast: 72 are €m-
phy ed at Han? a Con Fe £0, box /74, wy 74,

Y
St ba 5 rie] LA TI77b-
Case 2:01-cv-03489-GTP Document1 Filed 11/28/01 Page 5 of 13

Statement of Claim

(State here as briefly as possible the facts of your case. Describe how each defendant
is involved. Include also the names of other persons involved, dates, and places. Do
not give any legal arguments or cite any cases or statutes. if you intend to allege a
number of related ciaims, number and set forth each claim in a separate paragraph.
Use as much space as you need. Attach extra sheet if necessary.)

lant: FE Left fea wad ampay
inarceated +» La, D

   

   

7

 

   

e *
fi “ LL / Ly; y p Ck! Orles i} b 7) ’ a , Z nf Deg
. j , “ . J
La AYVETIi AD £7 S ‘a CCL OIN Ly rv pf Ze DY KLBALSES
+ ct," a Y Pp ad ry
4 “GAaQ & y Ce £- CAL A c, ‘8. L j ll’
i , / a rr Gea Tp
La} Ai LVOSTALCE i (Mh 2r Or lawns

 

D . ip f iH, " Mi .
horishFes 0A ana ged, Pour 2 JZ, "< petty bér- Wore.
2 7

RLS Mees. Lb-lF hours a. day aod hod po. trouble
Vv. — Rellef — SER NK P99 ES —

(State briefly exactiy what vou want the-court to do for vou, Make no legal

arguments. Cite no cases or statutes.)

2 3
VS - {hn “6 eL TA LSE CMa tek £ TBE. AG MAb A D2Z
7 U
‘
G a { #4 2 (D614 ING LL hap Z A 4 ? i <M) t
¢,
F, By) ‘ 2

   

    
   

7a Yj PAs 4 ys LU/ Aa
ean LL fas eight shouldte

Lad QIN PLD ALY Ag -IDn04 d

Yi 23 0 AQ Gs pp 7

: #) “4
Se, 7 iS pp o
PALL AA ad, ~hthi tT =Mih 21 VE dap 0 12,046 d
7 ‘ -

 

 

 

 

 
OOO

 

Case 2:01-cv-03489-GTP Document1 Filed 11/28/01 Page 6 of 13

amb alaFiing, Plaintiff acg arred PIOS Sfheses On A's
RTI A PR OC 1 | Dept st Grr refused + get ch,

ae
On 3-30-00 phishtTl fel) and hurt hes reg ht
shoulder Cans ng Pp mping men nd Sendents wired
Ca US@s great fain ay Aours Q day | JoSS ot Stren
gH and , Aecredse of FANG e of motion. Orko-
peare Sargeans Aave vecammended. 90 FLY a Orleans
farid, Prin ant Han+ Corr, Conte PAYSCNANS
have yetuserd +o fresirhbe medratitn orf @ Maus
him dy See an ot} pede, carga,

JS

On 7-23-01 plant ft was transported fiom
Or leans Faris h firi'son +o fant 2, Center: ana
Was advisek Po ge in a@ Wheelchair and put
the presHes & ‘na bag Sir travel SAV Poses,
Plein mae dA as was tolf Offycar Tabn

eT carrved Se faq #2 She bas GVea and
Yrew i+ on the a) Pee fi Aim Hae
Contents WR eas: AY damaged and? +0 p lease Le.
careful, He AA pred shut up, Later Ke
SQA ML lndiordaal heaved Shi bag So She Loon

ot He buS anda few seconds later frew

it to He back of +h bus, dipor aIVi U~

ng at Hart Grr, Gtr SFAcer Tdsn Doe rr

FA ew He bag ti He trot of She bus and
4h
Case 2:01-cv-03489-GTP Document1 Filed 11/28/01 Page 7 of 13

then ~» He ancrete, The pros theses 1S frag ~

te and SHYe gel lintry even rao’ SO,

Ypon adrsembar Qin zy Hant Grr Center He
bas WaAS Shrust in my lap god later fort
pn & mesh bags The bag Was |nspectkel
by a Sgt August ne who Hen Hew jt +o
He flor and then Krekeh + Several times
Fo get r+ +h She location she desired,
The prostheses was Hen tor Kan away aS }F
was cleemed ty be cantrabank and par in
SHO GGL unt / ¥-S-9/ when it was retomed,
5

On ¢-5-0) the jeg was yeturnh bat
plainti FE ves et a |Neded? do SL te oat; |
ct Was $9 PE. l 0) 4 Fr ‘7 it 0/4 lant -
FE Burd it Was fee rms and evel
pot PF dn Ais s tame,

| b :
Plaints FE aantacted /ed'ta! Dept Shry sick
cal), 26 Hee M4abN, Ass'F Warden Jor Ned: ca ly
Bi Abels, Warden C,M, aid and Sec,

of Degt, at Grea ons Bichard Stalder fo
get Ske pres theses repaired, Fina lhy a7
EMT, Sgt Lee , JSslk him fhe reg ues?

4B
eee

 

pe

Case 2:01-cv-03489-GTP Document1 Filed 11/28/01 Page 8 of 13

fo get Ye prostese¢ repaired Was clenv ed,
fF) / at plat FES reg west eve fk tens ed
rnc loded GIVevence CAR P),
7

by being aatinek fp a wheelchair
plank Pe rs dens ed Access So al) acr-
pur tyes, facsiAras , Serv; 'Ces ana PIEGTIMAS
rach ding Aut pot I'mited to law (brary,
Chaveh Services, clubs, Iprary, 94m) recrec~
actronal /Wergr + area Jexceré,se ) PRI bhi FE
rs a pPriSdngf fh a prison

Sx
Heg 4DN , Abels Lensi'ng and Stalder are
acting with del berate Inv F£ ere he, to
plant tt senousS medical needs Aen s'h4

Aim pristheric dev CES and yntils Ca | SOF —
vices Boy Avs shoulder,

Plainti fhe body and espec, ally Ars legs
Gye b2comng much weaker and at Avs
age, 43 extensive physical Hherapy
Wri be nee def pewye a prostheset
Can be yt'l zed
/O
This ys del berat fp. sndi Pherence fe x
He
eR EEE, EE S—Ee—ee—— eee

Case 2:01-cv-03489-GTP Document1 Filed 11/28/01 Page 9 of 13

Serious medrenl neeh ander +he FH
Aimendnnt of +h OS, Goch Tutvon 4 She
Rehabil titan Ret of 197384 Tete I
of She femer) tan with Dice b, L'PV ES Aor
ot 1996 (AbA") ard Jaws ot Ke.
State of Lou, S424,
/}
Sach actrons are risi'ng plank FFE
health pn egriving him &xeresse and
r?'shi' sg Ars re hab fifa es ;
ead

Dla nh tt never hack a: Ai sfiry of
mental j/ness unt! coreedio eafAcals
denied fim a pristheses and pow again
rhe n GVA AGaiAr deny n4 Aim 4 pPres-
SATSeS by re tus, rg A repary ths ofatn-
aged fp 10S Hh eSes > PlaintyPE VS pow Aa Ke ng
Lum Sd Bratnl Ais GrAGt of tpr es —
10h and frista tin by eter oo tS
ye pea Fed refusal fs assist platah ft
S42 r4par ot Arts psthetrc AtU CR

4D
Case 2:01-cv-03489-GTP Document 1 Filed 11/28/01 Page 10 of 13

Vi. Plaintiff's Declaration

1)

2)

3)

4)

9/97

| dectare under penaity c- perjury that ail facts represented in this complaint and any
attachments hereto are true and correct.

Lungerstang th that i if t FT uneeginout or goad sna shure ft is my, responsibility, yt ei
and fajlurg to7do $ r
being d sisted Sanat apt 9 May resiiy i this-actl

rn l4y . £4, Liv of, at forrec?, ancs AF t:
\ Understand that te ram prof ited from m oF inging a civil actio on ir forma ‘Pathe s ey
sa SQUIE:

yon iner were an on tae nee rats that they
wére frival us; ma f spgn te crates j May be granted,
ury

unless | vm under inent ae of eae pnvs!

| understand that even if | am allowed to proceed In forma pauperis, | am responsible
for paying the entire $150 filing fee and any costs assessed by the Court, which shall
be deducted from my inmate account by my custodian in installment payments as
prescribed by law.

Signed this _1i3t day of Tpnemlber ,@_00/ - =

neares rated Sagi oar

(Signature of Plaintiff)
Case 2:01-cv-03489-GTP Document 1 Filed 11/28/01 Page 11 of 13

J13943 FIC

/tunt Grr, Center
P:0, BOX 17Y

St Cabrre/ LA 777
/l- 43- Cf

Cheri of Lut

Os, District Lour
Eastern Di's 7reed oF Lasiana
S00 Camp

New Sikes LA FOlZ0
Dear Clerk of Louth yo
RE! 4a YS 19% 3
ch sed find competed Ga US /9¥
Fern L hdpr carrec7 ly ) anda 2 bl

folma or pers L $;'gned b aR prrson
otf, ff a y

Gs a am tad gear —, Contd 0007 send

Ont Cd Ghd hey ret Tuse Sd male
APA F an andi gtat ,;ranrate, Da

, “Yb Kw Fz WS Sach 4
Fact Jt tn Lo per they wo4ld Dy cap

ap Shr P29.
So f base Understand,

Thank yey,

 

sia. 3 TENDEFED

peers a FOR FILING

“ney eh, ge

Dacen br Sp ht | NOY I 6 200 :
OS lar Berth, 2 lf i.

err a

DEFUTY CLE: RUS “DIST SHAK Cun |
EASTERK O1S FRIC 1 Of tee
RoW ORLA

 

 

 
aw ee
——-,
—=

eon Qinited States District Court

 

, ase 2:01-cv-03489-GTP Document ile

 

DISTRICT OF —— OU tStANA
Plaintiff WITHOUT ON TO PROCEED
OScar Pau} bert ehb+ FEES AND AFFIDAVIT oF

Orlegns fan's hPrve dn, Charles Foti, Rudy
belise, Dwi Nidiedligd en 2. T0hn beet T, CASE NUMBER:
72 n dee State of Lou S°Gha - -bigh af

F Ghibns, Richard St We NK EP ERS)

= ng declare that | am the (check appropriate box)
astither plait 5 [[] other

in the above-entitied proceeding; that in support of my request to proceed without prepayment of fees or costs
under 28 USC. §1915 | deciare that | am unable to pay the costs of these proceedings and that | am entitied
to the relief sought in the complaint/petition/motion.

      
 

 

in support of this application, | answer the following questions under penalty of perjury:

1. Are you currently incarcerated?: (vee [1 Ne Md oNG* go to Part 2)
it "Yes" state the place of your incarceration Ay nt (arrect: ona] Cente rm

 

Are you employed at the institution?_,»/ _ Do you receive any payment from the institution? _ 4/0

Have the institution fill out the Certificate portion of this affidavit and attach a ledger sheet from the institu-
tion(s) of your incarceration showing at least the past six months’ transactions.

2. Are you currently employed? CJ Yes [No

a. Ifthe answer is “Yes” state the amount of your take-home salary or wages and pay period and give the
name and address of your employer. -

b. if the answer is “No” state the date of your last employment, the amount of your take-home ney or

wages and pay period and the name and address of your last ee Ze ‘a St emp /e y ment
In

was 1993 -1AkKe home wf” nf Izazpey hoor, Empltyty an

there address unk no
3. In the past 12 twelve months have your received any money from any of the following sources?

a. Business, profession or other self-employment Yes
b. Rent payments, interest or dividends Yes lo
c. Pensions, annuities or life insurance payments Yes io
d. Disability or workers compensation payments Yes lo
e. Gifts or inheritances Yes
f. Any other sources Yes No

ifthe answer to any of the above is “Yes” describe each source of money and state the amount received and
what you expect you will continue to receive.
—_—

 

——S a

4. Oo yu RSv8 Gay Lash GF eHeakinPorcsavingslacé¥arts?/25/(] Yewe 13 of 1a Ke

if “Yas” state the total amount.

 

5: Oo you own any real estate, stocks, bonds, securities, other financial instruments, automobiles or othes
valuable property? C) Yes Gano

It ‘Yes° describe the property and state its value.

Sd

6. Listthe persons who are dependent on you for suppor, state your relationship to each person and indicate
how much you contnbute to their support. A/OA/ E-

»

| declare under penalty of perjury that the above information is true and correct.

U=2&<D | caw ba thlit

-

 

 

 

 

 

OATE SIGNATURE OF APPLICANT
Oscar fet thelt |
N3IAZZ FIC STATEMENT OF ACCOUNT
(Certified Institutional Equivalent)
I hereby certify that thie inmate, (2504 J Berthelot _, has « present
inmate account balance of $ O st the & [ec institution. I further certify that

the average monthly deposits for the preceding six months is $2

( The average monthly deposits are to be determined by adding the deposits made during # given month and dividing that towl
by the aumber of deposits made during that month, This is repeated for each of the siz months. The aversge frua each of the
siz months ere to be added together and the total is to be divided by six).

 

I farther certify thatthe average monthly balance for the prior six mooths is 8.

( The average monthly balance is to be determined by adding each day's balance for a given month and dividing hat total by
the oumber of days ia that moath. This is to be repeated far each of the six prior manths, The balance from each of the sux
months are to be added together and the total is to be divided by six).
)
Ys Vow

bly | ZL

Date Certified Authorized Officer of Institution

  

7196

“F
